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                         IN THE UNITED STATES DISTRICT COURT                         EASTERN DIS I RiCT Af-lKANSAS

                             EASTERN DISTRICT OF ARKANSAS
                                                                                             APR 0 3 2015
                                   EASTERN DIVISION
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 RICHARD A. FORTE


                                                                              \r; C\I zf/-j \;\\-
                          Plaintiff,
                                                       Civil Action No.1:
        -against-

 PORTFOLIO RECOVERY ASSOCIATES,                        JURY TRIAL DEMANDED
 LLC
 A Virginia Corporation
                                                            This case assigned to District   Jud~~
                          Defendant.
                                                            and to Magistrate Judge _ _ _.....   ~~~
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                                       ORIGINAL COMPLAINT

            Plaintiff, Richard A. Forte (Forte), by his undersigned counsel brings this action against


Portfolio Recovery Associates, LLC (Portfolio), and states:


                        STATEMENT OF JURISDICTION AND VENUE


       1.        Jurisdiction of this Court arises pursuant to 28 U.S.C. §1331, 15 U.S.C.

§1692k(d) and 15 U.S.C. §1681p.


       2.         This action arises out of Defendant's violations of the Fair Debt Collection

Practices Act, 15 U.S.C. §1692 and the Fair Credit Reporting Act, 15 U.S.C. §1681.

        3.       The acts and events complained of in this Complaint occurred within Saline

County, Arkansas.




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        4.      Venue is proper pursuant to 28 U.S.C. §1391(b)(2) because the events giving rise

to the claims occurred here, Plaintiff resides here, and Defendant transacts business here.

                                         PARTIES TO THE CLAIM

        5.      The averments set forth in paragraphs 1-4 are adopted herein and incorporated as if

set forth word for word.


        6.      Forte is a resident of Benton, Saline County, Arkansas, and is a "consumer" as

defined by 15 U.S.C. §1692a(3), and/or "any person" as defined by 15 U.S.C. §1692d;

        7.      At the time of the incident described further herein, Portfolio was a corporation

duly authorized to conduct business in the State of Arkansas as a "debt collector," as that term is

defined by 15 U.S.C. §1692a(6) and is registered and licensed with the Arkansas State Board of

Collection Agencies, and attempting to collect a "debt," as defined in 15 U.S.C. §1692a(5).

        8.      Portfolio is being served via its registered agent:

                                Corporation Service Company
                                300 Spring Building, Suite 900
                                300 S. Spring Street
                                Little Rock, AR 72201

                                    FACTUAL BACKGROUND

        9.      The averments set forth in paragraphs 1-8 are adopted herein and incorporated as if

set forth word for word.


        10.     Portfolio filed a lawsuit against Forte in the District Court of Saline County,

Arkansas on October 3, 2014 alleging a consumer debt.

        11.     The lawsuit and attached affidavit alleges Forte defaulted on a credit card account

obligation with the original creditor, HSBC Bank Nevada, N.A. A copy of that suit is attached hereto

as "Exhibit 1" and incorporated as if set forth word for word.

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        12.    Portfolio asserted it purchased and was assigned the account.

        13.    The Complaint filed by Portfolio, and the attached affidavit, reflect an amount due

of $919.49.

        14.    Upon information and belief, the amount charged off by the original creditor was

$637.

        15.   Upon information and belief, the date of default was October 2012.

        16.    Upon information and belief, the amount claimed in the lawsuit filed by Portfolio

contains interest and late charges accrued after the default date, as well as after it was charged off

by the original creditor.

        17.   The Truth in Lending Act (TILA) regulates the type of account at issue in this case.

        18.   TILA requires a creditor to send periodic statements to the debtor each billing cycle

if there is an outstanding balance on an account where a finance charge is imposed. 15 U.S.C.

§1637(b).

        19.   That required periodic statement must contain certain required information which

describes what and how the creditoris assessing interest and finance charges. 15 U.S. C. § 163 7(b).

        20.   Consistent with 15 U.S.C. §1637(b), Regulation Z also requires creditors to "mail

or deliver a periodic statement as required by (12 C.F.R.) §226.7 for each billing cycle at the end

of which an account has a debit or credit balance of more than $1 or on which a finance charge

has been imposed." Id. At 12 C.F.R. §226.5(b)(2)(i).

        21.   However, Regulation Z provides exceptions to this requirement that periodic

statements be sent and enables creditors to not send those required periodic statements if the

creditor does certain things.

        22.   One of those exceptions is ifthe creditor has charged off the account in accordance

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with loan-loss provisions and will not charge any additional fees or interest on the account. 12

C.F .R. §226.S(b)(2)(i).

      23.      Therefore, under applicable regulations, HSBC Bank Nevada, N.A. was required

to send periodic statements to Forte until it "charged-off the account in accordance with loan-loss

provisions and will not charge any additional fees or interest on the account."         12 C.F.R.

§226.S(b)(2)(i).

      24.      Previous to the alleged purchase of the account by Portfolio from HSBC Bank

Nevada N.A., HSBC Bank Nevada, N.A. charged off an account alleged to have been incurred

by Forte.

      25.      Because HSBC Bank Nevada N.A. had charged off the account, it was not required

to send periodic statements to Forte as would otherwise be required by law.

      26.      Therefore, after charging off the account, HSBC Bank Nevada, N.A. did not send

any billing statements regarding the account to Forte.

      27.      HSBC Bank Nevada, N.A. took advantage of the charge off exception to enable it

to not be required to send periodic billing statements.

      28.      The legal trade-off for entitling HSBC Bank Nevada, N.A. to take advantage of the

charge off exception is that it was precluded by law from charging any additional fees or interest

on the account.

      29.      Therefore, after the account was written off, HSBC Bank Nevada, N.A. was

precluded by law from charging additional fees or interest on the account because it had not sent

out the periodic statements.

      30.      Portfolio professes to be in the same shoes as HSBC Bank Nevada, N.A. due to its

purchase and assignment of the account.

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       31.    Portfolio would not acquire any greater rights than HSBC Bank Nevada, N .A. had

at the time of the alleged purchase.

       32.    By assessing interest and other charges for which there was no legal basis, Portfolio

is in violation of 15 U.S.C §1692f(l) which prohibits a debt collector from collection of any

amount (including any interest, fee, charge, or expense incidental to the principal obligation)

unless such amount is expressly authorized by the agreement creating the debt or permitted by

law.

       33.    By assessing charges, namely interest and late charges after the date of default,

which are not authorized by the agreement or law, Portfolio is in violation of 15 U.S.C. §1692e(5)

by taking action that cannot legally be taken.

       34.    The Complaint further requests costs and for all other proper relief.

       35.    Because "costs and all other proper relief' are not authorized by the agreement

creating the debt, the Complaint seeks to collect amounts not authorized by contract in violation

of 15 U.S.C. §1692f(l).

       36.    By not attaching the agreement upon which it is suing, Portfolio is making a false

representation of the character, amount, or legal status of the debt in violation of 15 U.S.C.

§1692e(2)(A).

       37.    By not attaching the agreement upon which it is suing, Portfolio is engaging in

unfair or unconscionable means in its attempt to collect the alleged debt in violation of15 U.S.C.

§1692f.

       38.    Portfolio has attached no evidence that it purchased the debt from the original

creditor and; thus, is taking action which cannot legally be taken in violation of 15 U.S.C.

§1692e(5).

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       39.     Portfolio is in violation of 15 U.S.C. §1692e(10) by making false representations

 and engaging in deceptive means in attempting to collect the debt by its inability to document any

 agreement between Forte and any creditor.

       40.      At the time it commenced the action against Forte, Portfolio possessed insufficient

 evidence and intended not to further investigate in violation of 15 U.S.C. §1692(e)(5).

       41.     Upon information and belief, the principal amount charged off by the original

 creditor was $637.00.

       42.     The Complaint filed by Portfolio requests a judgment in the principal amount of

 $919.49.

       43.     Portfolio is seeking to collect amounts not owed in violation of 15 U.S.C.

 §1692e(2)(A) which prohibits the false representation of the character, amount, or legal status of

any debt.

       44.     Portfolio's conduct violates the FDCPA for which strict liability applies pursuant

to 15 U.S.C. §1692, et seq.

       45.     Portfolio's conduct violates the FDCPA for which statutory damages apply

pursuant to 15 U.S.C. §1692k(a)(2)(A).

         VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

        46.    The averments set forth in paragraphs 1-45 are adopted herein and incorporated as

if set forth word for word.


        47.    Portfolio is in violation of the following sections of the Fair Debt Collection

Practices Act as alleged above:

               a.        15 U.S.C. §1692e(2)(A): Making a false representation of the character,

amount, or legal status of any debt;

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               b.      15 U.S.C. §1692e(5): Taking action that cannot legally be taken or that is

not intended to be taken;

               c.      15 U.S.C. §1692e(10): The use of any false representation or deceptive

means to collect any debt;

               d.      15 U.S.C. §1692f: Using unfair or unconscionable means to collect or

attempt to collect any debt;

               e.      15 U.S.C. §1692f(l): The collection of any amount unless such amount is

expressly authorized by the agreement creating the debt or permitted by law.

                    VIOLATIONS OF THE FAIR CREDIT REPORTING ACT

       48.     The averments contained in paragraphs 1-47 are hereby incorporated as if set

forth word for word.

       49.     Portfolio reported to all three credit reporting agencies that Forte was indebted to

Portfolio in the amount of $919.

       50.     The original creditor reported a charge-off amount of$637.

       51.     Portfolio, despite actual knowledge of the amount allegedly owed by Forte,

reported to all three credit reporting agencies that Forte was indebted to Portfolio in amount in

excess of what was charged-off by the original creditor and in an amount not owed in violation

of 15 U.S.C. 1681s-2(a)(l)(A).

                                              DAMAGES

       52.   The averments set forth in paragraphs 1-51 are adopted herein and incorporated as if

set forth word for word.


       53.     As a direct and proximate result of the occurrence made the basis of this lawsuit,

Forte is entitled to the following damages:

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               a. actual costs, expenses and attorney fees pursuant to 15 U.S.C §1692(k)(a)(3);
               b. statutory damages in the maximum amount of: $1,000.00 pursuant to 15 U.S.C.
§ 1692(k)(a)(2)(A).
               c. actual damages pursuantto 15 U.S.C. §1692k(a)(l)

               d. actual damages and attorney fees and costs pursuant to 15 U.S.C §1681n.

                                 DEMAND FOR JURY TRIAL

       54.     The averments set forth in paragraphs 1-53 are adopted herein and incorporated as

if set forth word for word.


       55.     Forte demands a jury trial on all issues so triable.

                                             PRAYER


       WHEREFORE, Forte prays that:

       1. He be granted statutory damages pursuant to the 15 U.S.C. §1692k(a)(2)(A);

       2. He be granted actual damages pursuant to the 15 U.S.C. §1692k(a)(l);

       3. He be granted costs and attorney fees pursuant to 15 U.S.C. §1692k(a)(3).

       4. He be granted damages, attorney fees and costs pursuant to 15 U.S.C. §1681n.



                                                              Respectfu)J.y submitted,
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                                                              J.R. Andrews, Esq. ABN 92041
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                                                              2014 Martha Drive
                                                              Little Rock, Arkansas 72212
                                                              Telephone: (501) 680-3634
                                                              jrandrewsatty@yahoo.com

                                                              Attorney for Plaintiff
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                IN THE DISTRICT COURT OF SALINE COUNT~llfil'(IA~AEW                               3: 20
                                 BENTON DIVISION

PORTFOLIO RECOVERY ASSOCIATES, LLC

V.                                    CASE NO. /
                                                       1f'/}tlJl{JfJG:5'
RICHARD A FORTE                                                                              DEFENDANT

                                              COMPLAINT

        Comes the Plaintiff and for its cause of action against the Defendant, states:

      l. That the Plaintiff is a foreign limited liability company authorized to bring this action under Ark.
Code Ann.§ 4-32-1008.

        2. That the Defendant is a resident of Saline County, Arkansas.

        3. Jurisdiction and venue are proper in this Court.

        4. That Defendant purchased certain items with extensions of credit obtained on his/her HSBC
BANK NEV ADA, N .A. account. This account was purchased by, and assigned to the Plaintiff for good and
valuable consideration.

        5. That the amount past due on said account, which has not been paid, and has been owed for a
period of time is as follows, principal amount, $919 .49, as set out in Plaintiffs Affidavit which is attached
hereto and incorporated herein by reference.

        6. That demand had been made for the payment of same, yet the balance remains unpaid.

        WHEREFORE, Plaintiff prays for Judgment against Defendant in the amount of$ 919 .49, for all
costs herein paid and expended, and for all other proper relief.


                                                  Allen & Withrow
                                                  Attorneys at Law
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                                                  Ld'ri Withrow (98069)




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                                                              AFFIDAVIT

State of Virginia
City of Norfolk ss.
                             Meryl Oreana
I, the undersigned, _ _ _ _ _ _ _ _ _ _ _ _ _ , Custodian of Records, for Portfolio Recovery Associates, LLC
hereby depose, affirm and state as follows:

1.            I am competent to testify to the matters contained herein.

2.      I am an authorized employee of Portfolio Recovery Associates, LLC, ("Account Assignee") which is doing
business at Riverside Commerce Center, 120 Corporate Boulevard, Norfolk, Virginia, and I am authorized to make the
statements, representations and averments herein, and do so based upon a review of the business records of the Original
Creditor HSBC BANK NEVADA, N.A./AMERITECH and those records transferred to Account Assignee from
CAPITAL ONE BANK (USA), N.A ("Account Seller"), which have become a part of and have integrated into Account
Assignee's business records, in the ordinary course of business.

3.       According to the business records, which are maintained in the ordinary course of business, the account, and all
proceeds of the account are now owned by the Account Assignee, all of the Account Seller's interest in such account
having been sold, assigned and transferred by the Account Seller on 4/15/2013. Further, the Account Assignee has been
assigned all of the Account Seller's power and authority to do and perform all acts necessary for the settlement,
satisfaction, compromise, collection or adjustment of said account, and the Account Seller has retained no further interest
in said account or the proceeds thereof, for any purpose whatsoever.

4.        According to the records transferred to the Account Assignee from Account Seller, and maintained in the ordinary
course of business by the Account Assignee, there was due and payable from RICHARD A FORTE ("Debtor and Co-
Debtor") to the Account Seller the sum of$ 919.49 with the respect to account number ending in         , as of the date of
3/30/2013 with there being no known un-credited payments, counterclaims or offsets against the said debt as of the date of
the sale.

5.       According to the account records of said Account Assignee, after all known payments, counterclaims, and/or
setoffs occurring subsequent to the date of sale, Account Assignee claims the sum of $ 919.49 as due and owing as of the
date of this affidavit.

6.      Plaintiff believes that the defendant is not a minor or an incompetent individual, and declares that the Defendant is
not on /tive military service of the United States.
          I
Portf<;»lio Recovery     ,,.,.
            .,,,,,,,...""
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                                                                                           TAVANA C, UZZLE
                                                                                           NOTARY PUBLIC
                                                                                       REGISTRATION II 302460
                                                                                 ~   COMMONWEALTH OF VIRGINIA
                                                                                      MY COMMISSION EXPIRES
                                                                                         JANUARY 31, 2017



                                      This communication is from a debt collector and is an attempt to collect a debt.
                                               Any information obtained will be used for that purpose.


13-09825-0
